           Case 1:18-cr-10307-MLW Document 64 Filed 05/08/19 Page 1 of 3



                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                    )
                                            )
               v.                           )        Crim. No. 18-10307 MLW
                                            )
DAREN DEJONG,                               )
                                            )
               Defendant.                   )

    GOVERNMENT’S DECLARATION IN RESPONSE TO COURT’S MAY 6, 2019
                            ORDER

       Pursuant to 28 U.S.C. § 1746, the undersigned Assistant U.S. Attorneys state the following

in response to the Court’s May 6, 2019 Order, ECF Dkt. No. 60:

   1. With respect to defendant Daren DeJong, the government has submitted all information

       covered by U.S.S.G. §§ 1B1.3(a)(1)(B) and 6B1.2(a). This information included a thumb

       drive submitted to the United States Probation Office on February 12, 2019, containing

       approximately 693 files, with materials having a bates range of MSP OT 1-49370 and

       DEJONG 1-1326.

   2. The government only learned on April 19, 2019, via ECF Dkt. No. 57 that on April 10,

       2019, defendant DeJong admitted to Massachusetts Attorney General’s Office1

       investigators that he had engaged in AIRE overtime abuse in coordination with other

       members of Troop E via phone and/or radio communication (e.g., DeJong and other

       Troopers would not be writing citations [on a bad weather] day and that he should go home;

       they agreed not to write citations a certain day; they agreed not to divulge these




       1
              The defendant requested that the Court be informed that the information was
provided under the protection of a proffer letter from the Massachusetts Attorney General’s
Office.
           Case 1:18-cr-10307-MLW Document 64 Filed 05/08/19 Page 2 of 3



       conversations or attract attention by stopping cars; and they agreed to write tickets prior to

       certain overtime shifts). See ECF Dkt. No. 57 at 10-11.

   3. Based upon information the Attorney General’s Office provided to the government on May

       3, 2019, the government believes that one of the individuals that participated in some of

       the above-mentioned activity with defendant DeJong was former MSP Lieutenant “A.”2

       Publicly available information from the Attorney General’s Office estimates that the

       overtime loss attributable to Lieutenant A is approximately over $18,000 in 2015 and

       $10,000 in 2016. The Massachusetts Attorney General has also pursued charges against

       two other former Lieutenants. If it is determined by this Court that defendant DeJong

       coordinated fraudulent activity with former MSP Lieutenants “B” and/or “C,” the Attorney

       General’s Office estimates their respective loss for 2015 at over $11,000 and over $5,000,

       and their respective loss for 2016 at over $19,000 and over $17,000.3

   4. Before April 10, 2019, the government attempted to meet and proffer with defendant

       DeJong on two occasions: (i) in June 2018, before his arrest; and (ii) in November 2018,

       after the plea agreement was executed, see ECF Dkt. No. 33. Defendant DeJong rejected

       both invitations.

   5. Following the May 2, 2019 hearing, however, the parties arranged to have defendant

       DeJong proffer with the government within the next two weeks. In accordance with the

       Office’s standard proffer practice, the government will not use defendant DeJong’s

       proffered statements against him at sentencing, subject to certain exceptions. Should



       2
               See Local Rule 116.2(c)(1)(E).
       3
                 The defendant would object to the attribution of any additional loss and
anticipates filing a memorandum on that issue.

                                                 2
         Case 1:18-cr-10307-MLW Document 64 Filed 05/08/19 Page 3 of 3



       defendant DeJong provide any information falling within the parameters of U.S.S.G. §§

       1B1.3(a)(1)(B) and 6B1.2(a), and the Court requests such information, the government will

       provide it in accordance with section 3 of the Plea Agreement, see ECF Dkt. No. 33 at 4.

   6. The government has conferred with defense counsel for DeJong. The government does

       not request a further continuance of the sentencing hearing. The defendant would request

       a continuance of the sentencing until at least the first week of June.

       I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge and recollection. Executed this 8th day of May, 2019.


       /s/ Dustin Chao                                       /s/ Mark Grady
       DUSTIN CHAO                                           MARK GRADY
       Assistant U.S. Attorney                               Assistant U.S. Attorney


                                 CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent electronically
to the registered participants as identified in the Notice of Electronic Filing.


                                                             /s/ Dustin Chao
                                                             Dustin Chao
                                                             Assistant U.S. Attorney


Date: May 8, 2019




                                                 3
